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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                 )
                                                          )               8:06CR119
                        Plaintiff,                        )
                                                          )
        vs.                                               )                ORDER
                                                          )
LEONEL GARCIA-PADILLA and                                 )
MARTIN GONZALEZ-MORENO,                                   )
                                                          )
                        Defendants.                       )



        This matter is before the court on the motion to continue by defendant Martin Gonzalez-Moreno

(Gonzalez-Moreno) (Filing No. 34). Gonzalez-Moreno seeks a continuance of the trial of this matter

scheduled for July 3, 2006. The court heard the motion during a hearing on June 1, 2006. Counsel for the

government has no objection to the motion. Gonzalez-Moreno acknowledged that he consents to the

motion and understood the additional time may be excludable time for the purposes of the Speedy Trial Act.

Upon consideration, the motion will be granted. Trial of this matter will be continued as to both defendants.



        IT IS ORDERED:

        1.      Gonzalez-Moreno's motion to continue trial (Filing No. 34) is granted.

        2.      Trial of this matter as to both defendants is re-scheduled for August 7, 2006, before Chief

Judge Joseph F. Bataillon and a jury. The ends of justice have been served by granting such motion and

outweigh the interests of the public and the defendant in a speedy trial. The additional time arising as a

result of the granting of the motion, i.e., the time between June 1, 2006 and August 7, 2006, shall be

deemed excludable time in any computation of time under the requirement of the Speedy Trial Act for the

reason that defendants' counsel require additional time to adequately prepare the case. The failure to grant

additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).



        DATED this 1st day of June, 2006.

                                                          BY THE COURT:

                                                          s/ Thomas D. Thalken

                                                          United States Magistrate Judge
